
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-08-319-CR





CALVIN JAVIER HOLLOWAY	APPELLANT



V.



THE STATE OF TEXAS	STATE



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FROM CRIMINAL DISTRICT COURT NO. 3 OF TARRANT COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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After waiving a jury and entering an open plea of guilty, appellant Calvin Javier Holloway
 appeals his conviction and ten-year sentence for aggravated robbery with a deadly weapon.
(footnote: 2) &nbsp;We affirm. &nbsp;&nbsp;

Appellant’s court-appointed appellate counsel has filed a motion to withdraw as counsel and a brief in support of that motion. &nbsp;In the brief, counsel avers that, in his professional opinion, the appeal is frivolous. &nbsp;Counsel’s brief and motion meet the requirements of 
Anders v. California
(footnote: 3) by presenting a professional evaluation of the record demonstrating why there are no arguable grounds for relief.
 &nbsp;We gave appellant the opportunity to file a pro se brief, and he has not filed one. &nbsp;The State also has not filed a brief.

Once an appellant’s court-appointed attorney files a motion to withdraw on the ground that the appeal is frivolous and fulfills the requirements of 
Anders
, this court is obligated to undertake an independent examination of the record
.
(footnote: 4) &nbsp;Only then may we grant counsel’s motion to withdraw.
(footnote: 5) 

We have carefully reviewed the record and counsel’s brief. &nbsp;We agree with counsel that this appeal is wholly frivolous and without merit; we find nothing in the record that might arguably support the appeal.
(footnote: 6) &nbsp;Accordingly, we grant counsel’s motion to withdraw and affirm the trial court’s judgment. 



PER CURIAM



PANEL: &nbsp;CAYCE, C.J.; LIVINGSTON and DAUPHINOT
, JJ.



DO NOT PUBLISH	

Tex. R. App. P. 47.2(b)



DELIVERED: March 12, 2009	
 			

FOOTNOTES
1:See
 Tex. R. App. P. 47.4.


2:See
 Tex. Penal Code Ann. § 29.03(a)(2) (Vernon 2003).


3:386 U.S. 738, 87 S. Ct. 1396 (1967)
.


4:See Stafford v. State
, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991); 
Mays v. State,
 904 S.W.2d 920, 922–23 (Tex. App.—Fort Worth 1995, no pet.).


5:See Penson v. Ohio,
 488 U.S. 75, 82–83, 109 S. Ct. 346, 351 (1988).


6:See Bledsoe v. State,
 178 S.W.3d 824, 827–28 (Tex. Crim. App. 2005); 
see also Meza v. State,
 206 S.W.3d 684, 685 n.6 (Tex. Crim. App. 2006).




